      8:25-cv-00036-MDN     Doc # 1    Filed: 01/31/25    Page 1 of 12 - Page ID # 1




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

SCOTT CARSON,                                )             CASE NO. 8:25cv36
                                             )
       Plaintiff,                            )
                                             )
vs.                                          )           NOTICE OF REMOVAL
                                             )
MENARD, INC., d/b/a MENARDS,                 )
                                             )
       Defendant.                            )


       COMES NOW Defendant Menard, Inc. (“Menards”) and, pursuant to

28 U.S.C. §§ 1441 & 1446, removes this action from the District Court of Douglas

County, Nebraska, to the United States District Court for the District of Nebraska.

Removal is proper on the following grounds:

       1.     On December 31, 2024, Plaintiff Scott Carson, commenced this action

in the District Court of Douglas County, Nebraska, Case No. CI 24-10022. Plaintiff

is a citizen of Douglas County, Nebraska. Said action is still pending. A copy of

Plaintiff's complaint filed with the Douglas County District Court and the proof of

service upon Menards are attached hereto as Exhibit A.

       2.     Menards is a corporation organized under the laws of the State of

Wisconsin, with its principal place of business in Eau Claire, Wisconsin. Menards is

a citizen of the State of Wisconsin.

       3.     Menards was served with process through its registered agent in the

State of Nebraska, on January 6, 2025.
    8:25-cv-00036-MDN      Doc # 1    Filed: 01/31/25   Page 2 of 12 - Page ID # 2




      4.     Pursuant to 28 U.S.C. § 1332(a)(1), this Court has original diversity

jurisdiction over this matter. Under that section, this Court has original diversity

jurisdiction over any action in which (1) the amount in controversy exceeds

$75,000.00, exclusive of interests and costs; and (2) is between citizens of different

states.

      5.     There is diversity of citizenship between Plaintiff, who is a Nebraska

citizen, and Menards, which is a citizen of the State of Wisconsin for the purposes of

diversity jurisdiction.

      6.     Plaintiff's complaint seeks damages “substantial and permanent

injuries,” including “personal injuries and consequential damages, past and future

medical expenses … past and future loss of earnings, past and future pain and

suffering, loss of earning capacity, and past and future loss of enjoyment of life,

mental anguish, and emotional distress.” (Complaint, ¶ 22). The allegations in the

Complaint support a finding that the amount in controversy exceeds the

jurisdictional minimum. Kearney Area Ag Producers Alliance v. Delta-T Corp., No.

8:02CV56, 2003 U.S. Dist. LEXIS 2634, at *5 (D. Neb. Feb. 24, 2003) (“[A] removing

defendant can also establish the jurisdictional minimum by setting forth the facts in

controversy … that support a finding of the requisite amount.”) (internal quotation

marks omitted). So long as a fact finder could conclude the total damages the

plaintiff claims exceed $75,000.00, this is sufficient to confer diversity jurisdiction

with this Court. Kopp v. Kopp, 280 F.3d 883, 885 (8th Cir. 2002). Only if it is a

“legal certainty” that the jurisdictional minimum cannot be met will remand to the



                                          2
    8:25-cv-00036-MDN      Doc # 1     Filed: 01/31/25   Page 3 of 12 - Page ID # 3




state court be appropriate. Id. at 884; see also Bell v. Hershey Co., 557 F.3d 953,

956 (8th Cir. 2009) (“[R]emand is only appropriate if the plaintiff can establish to a

legal certainty that the claim is for less than the requisite amount.”).

       7.     Pursuant to 28 U.S.C. § 1441(a), Menards has removed this action "to

the district court of the United States for the district and division embracing the

place where [the State court] action is pending."

       8.     Removal is proper under 28 U.S.C. § 1446 because this notice has been

filed within thirty (30) days after receipt of the initial pleadings by Menards on

January 6, 2025, and all Defendants who have been properly joined and served with

Plaintiff's initial pleadings (i.e., Menards) consent to this removal. See 28 U.S.C.

§ 1446(b)(1)-(2).

       9.     A notice of the filing of this Notice of Removal has been filed

contemporaneously herewith in the District Court of Douglas County, Nebraska.

       10.    There are no matters pending in the District Court of Douglas County,

Nebraska, that will currently require resolution by this Court.

       DATED this 31st day of January, 2025.

                                        MENARD, INC., Defendant


                                 By:    /s/ Robert W. Futhey
                                        Robert W. Futhey, #24620
                                        Spencer W. Werth, #25574
                                        FRASER STRYKER PC LLO
                                        500 Energy Plaza
                                        409 South 17 Street
                                        Omaha, NE 68102-2663
                                        (402) 341-6000
                                        rfuthey@fraserstryker.com

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     8:25-cv-00036-MDN   Doc # 1   Filed: 01/31/25   Page 4 of 12 - Page ID # 4




                                    swerth@fraserstryker.com
                                    ATTORNEYS FOR DEFENDANT


                         CERTIFICATE OF SERVICE

       On the 31st day of January, 2025, I e-mailed the above document to the
following:

            Christopher P. Welsh
            WELSH & WELSH, P.C., L.L.O.
            9290 West Dodge Road
            204 The Mark
            Omaha, NE 68114
            cwelsh@welsh-law.com


                                    /s/ Robert W. Futhey

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                                       4
 8:25-cv-00036-MDN      Doc # 1    Filed: 01/31/25   Page 5 of 12 - Page ID # 5
                                                  Filed in Douglas District Court
                                                           *** EFILED ***
                                                Case Number: D01CI240010022
                                                  Transaction ID: 0022636217
     IN THE DISTRICT COURT OF DOUGLAS COUNTY,   NEBRASKA
                                           Filing Date: 12/31/2024 03:59:43 PM CST


SCOTT CARSON,                           )   Case No. CI 24 - _______________
                                        )
      Plaintiff,                        )
                                        )
      v.                                )            COMPLAINT and
                                        )            JURY DEMAND
MENARD, INC., d/b/a MENARDS,            )
                                        )
      Defendant.                        )

      Plaintiff, Scott Carson, and for his causes of action and claims for relief
against the Defendant, states and alleges that at all time material hereto:

                   PARTIES, JURISDICTION and VENUE

     1.    Plaintiff, Scott Carson, is a resident of Waterloo, Douglas
County, Nebraska.

       2.    Defendant, Menard, Inc., is a foreign corporation, is qualified to
do business in the State of Nebraska, with its principal place of business
located in Eau Claire, Wisconsin.

      3.     The District Court of Douglas County Nebraska has subject
matter jurisdiction over this action pursuant to Neb. Rev. Stat. Section 24-
302.

      4.     Pursuant to Neb. Rev. Stat. Section 25-403.01, venue is proper
in Douglas County, Nebraska, as the county where Plaintiff’s causes of action
arose and/or where at least one Defendant resides.

                         GENERAL ALLEGATIONS

       5.    On June 6, 2024, Defendant owned, operated, and/or managed
real property located at 750 N. 205th Street, Elkhorn, Douglas County,
Nebraska, which is a home improvement business commonly known as and
hereafter referred to as “Menards”, including, but not limited to, the parking


                                                                                    EXHIBIT
                                                                                      A
 8:25-cv-00036-MDN      Doc # 1    Filed: 01/31/25   Page 6 of 12 - Page ID # 6




lot, curbs, sidewalks, handicap stalls, entries, and exits located at or near
Menards as well as its business and customer operations.

      6.    Defendant was acting through its employees, authorized agents,
apparent agents, and/or representatives.

       7.     Defendant is vicariously liable for the negligence of its
employees, agents and representatives, including, but not limited to, under
the doctrine of respondeat superior, all theories of agency, and/or all theories
of joint venture.

                             STATEMENT OF FACTS

      8.     On June 6, 2024, Plaintiff was a lawful entrant at Menards for
the purpose of purchasing home improvement items.

      9.     Plaintiff was in the lumber section and approached shelving
containing different sizes and shapes of lumbar which included a bundle of
lumber that was setting on top of the lumber bin and not in a designated
inventory bin.

      10.   As Plaintiff was approaching the lumber bin to pick up the
lumber he ordered, the bundle of lumber which was setting on top of the
lumber bin and not in a designated inventory bin fell striking the Plaintiff
which caused Plaintiff to suffer injuries and damages.

                   CAUSE OF ACTION and CLAIM FOR RELIEF

                        I.     GENERAL NEGLIGENCE

      11.    As the owners and/or operator of Menards, Defendant had a
duty to provide a safe place for lawful entrants so as to prevent any
unreasonable risk of harm to lawful entrants, and further had a duty to
protect and/or warn lawful entrants against dangerous conditions on the
premises.

      12.    Defendants, by and through its employees, agents and
representatives, while in the scope and course of their employment and
agency, knew, or in the exercise of reasonable care, should have known that

                                        2
 8:25-cv-00036-MDN      Doc # 1    Filed: 01/31/25   Page 7 of 12 - Page ID # 7




bundle of lumber on top of the inventory bin was a hazard to lawful entrants,
including Plaintiff.

      13.    Maintaining the lumber bin was the responsibility of the
Defendant, by and through its employees, agents and representatives in the
course and scope of their employment.

     14.    Defendant, by and through its agents, representatives and
employees, were negligent in one or more of the following particulars, to wit:

         a. Designing, constructing, and allowing a bundle of lumber to
            exist on top of the lumber inventory bin and not in a designated
            inventory bin;

         b. Failing to protect Plaintiff against the dangers of the lumber
            inventory bin on which the bundle of lumber fell and struck
            Plaintiff;

         c. Failing to warn Plaintiff of the dangers of the lumber inventory
            bin on which the bundle of lumber fell and struck Plaintiff;

         d. Failing to use proper care to properly and safely design and
            construct the lumber inventory bin for its intended use;

         e. Failing to use proper care to ensure that the lumber inventory
            bin were safe and properly designed, constructed and used for
            its intended purpose;

         f. Failing to properly supervise, instruct and/or train its employees
            and/or agents responsible for the maintenance and inspection of
            its premises; and

         g. Failing to otherwise exercise reasonable and proper care under
            the circumstances.

                          II.     PREMISE LIABILITY

       15.    The area of Defendant’s premises on which the bundle of lumber
fell and struck the Plaintiff presented a dangerous and unsafe condition.

                                       3
 8:25-cv-00036-MDN      Doc # 1    Filed: 01/31/25   Page 8 of 12 - Page ID # 8




       16.   Defendant and/or its agents and/or employees created said
condition, knew of the condition, or by the exercise of reasonable care would
have discovered the condition.

      17.   Defendant and its employees, agents and/or representatives
knew that this condition involved an unreasonable risk of harm to Plaintiff.

        18.    Defendant and its employees, agents and/or representatives
should have expected that Plaintiff either would not discovered or realize the
condition of the bundle of lumber on top of the lumber inventory bin or would
fail to protect himself against the condition.

       19.    Defendants and their employees, agents and/or representatives
failed to use reasonable care to protect Plaintiff against the dangerous
condition.

                            RES IPSA LOQUITUR

       20.   For an alternative theory of recovery, the bundle of lumber on
top of the lumber inventory bin that fell and struck Plaintiff was under
Defendant’s exclusive control and management.

      21.   In the ordinary course of events, Plaintiff’s injuries would not
have occurred unless Defendant was negligent.

                  DAMAGES COMMON TO ALL CLAIMS

        22.   That as a direct and a proximate result of Defendant’s
negligence, Plaintiff sustained substantial and permanent injuries, which
include, but are not limited to, personal injuries and consequential damages,
past and future expenses for necessary medical treatment, past and future
loss of earnings, past and future pain and suffering, loss of earning capacity,
and past and future loss of enjoyment of life, mental anguish and emotional
distress.

      WHEREFORE, Plaintiff prays for judgment against the Defendant, for
general and special damages, along with interest, attorney's fees and costs,
and other such damages are reasonable in the premises.

                                       4
 8:25-cv-00036-MDN     Doc # 1    Filed: 01/31/25   Page 9 of 12 - Page ID # 9




                        DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a jury trial of this matter in Douglas County
District Court, Nebraska.

      Dated this 31st day of December, 2024.

                                 SCOTT CARSON, Plaintiff,

                          By:     /s/ Christopher P. Welsh
                                 Christopher P. Welsh - #22279
                                 WELSH & WELSH, P.C., L.L.O.
                                 9290 West Dodge Road
                                 204 The Mark
                                 Omaha, NE 68114
                                 Phone: (402) 384-8160
                                 cwelsh@welsh-law.com
                                 ATTORNEY FOR PLAINTIFF




                                      5
8:25-cv-00036-MDN   Doc # 1   Filed: 01/31/25   Page 10 of 12 - Page ID # 10
                                                             Filed in Douglas District Court
                                                                      *** EFILED ***
                                                           Case Number: D01CI240010022
                                                             Transaction ID: 0022683802
                                                      Filing Date: 01/13/2025 09:08:16 AM CST
8:25-cv-00036-MDN   Doc # 1   Filed: 01/31/25   Page 11 of 12 - Page ID # 11
       8:25-cv-00036-MDN      Doc # 1    Filed: 01/31/25   Page 12 of 12 - Page ID # 12

                                Certificate of Service
    I hereby certify that on Monday, January 13, 2025 I provided a true and correct copy of the
Return-Summons/Alias Summons to the following:


Signature: /s/ Welsh,Christopher, (Bar Number: 22279)
